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and the Proposed Class.

                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION

RICHARD KADREY, et al.,                               CASE NO. 3:23-cv-03417-VC

        Individual and Representative Plaintiffs,    DECLARATION OF HOLDEN BENON IN
                                                     SUPPORT OF PLAINTIFFS’ REPLY TO
   v.                                                DEFENDANT META PLATFORMS, INC.’S
                                                     OPPOSITION TO MOTION TO AMEND
META PLATFORMS, INC.,                                CASE MANAGEMENT SCHEDULE

                                     Defendant.


                                DECLARATION OF HOLDEN BENON IN SUPPORT OF PLAINTIFFS’ REPLY
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       I, Holden Benon, declare as follows:

       1.      I am an attorney duly licensed to practice in the State of California. I am an attorney

with the Joseph Saveri Law Firm and counsel for Plaintiﬀs in the above-captioned action. I have

personal knowledge of the matters stated herein and, if called upon, I can competently testify

thereto. I make this declaration pursuant to 28 U.S.C. § 1746 and Local Rule 6-3 in support of

Plaintiﬀs’ Reply to Defendant Meta Platforms, Inc.’s Opposition to Motion to Amend Case

Management Schedule.

       2.      On August 29, 2024, I attended a meet-and-confer videoconference with counsel

for Meta Platforms, Inc. in connection with the above-referenced action. Also in attendance for

Plaintiffs were Aaron Cera, Rya Fishman, Matthew Butterick, Alex Sweatman, Mohammed

Rathur, and James Ulwick. The purpose of the meet-and-confer was to discuss certain deficiencies

identified in correspondence that I sent to Meta on behalf of Plaintiffs on August 22 and August

23.

       3.      The first topic of discussion during the August 29 meet-and-confer conference was

the scope of training data that Meta had produced thus far in the case, and identifying the categories

of training data that Meta had not produced yet. Specifically, I started the discussion by asking

Meta’s counsel when we can expect to receive copies of all the training data for Llama 2 and 3.

       4.      Counsel for Meta asked Plaintiffs to explain the relevance of training data that

would include works not protected by U.S. copyright law and stated he was struggling to

understand why Plaintiffs would need every training data set used by Meta.

       5.      In response, I explained that Plaintiffs’ priority is Meta’s production of training

data containing copyrighted literary works and works related thereto. In the interest of finding a

mutually acceptable compromise, I also stated that training data that derives from social media

websites such as Reddit was not Plaintiffs’ priority. I asked counsel to describe the universe of

training data that was being withheld so that Plaintiffs could have an informed understanding, and

so that the parties could further discuss Plaintiffs’ requests and the timing of additional productions

of training data by Meta. Meta’s counsel was not prepared on the call to describe the universe of


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training data being withheld, so we moved on to other items on the agenda.

       6.      At no point during the August 29 meet-and-confer or otherwise did I indicate or

suggest that Plaintiffs did not want, or that Meta did not need to produce, Llama 3 data beyond the

“Libgen” dataset.

       7.      Attached to this Declaration as Exhibit A are true and correct copies of excerpts

from documents Meta produced bearing the Bates range Meta_Kadrey_00065244-65314.00012,

the Bates range Meta_Kadrey_00088043-88186, and the Bates number Meta_Kadrey_00088770.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on the

3rd day of October 2024 in San Francisco, California.


                                               By:        _/s/ Holden Benon________________
                                                             Holden Benon




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